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13                              UNITED STATES DISTRICT COURT
14                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15 CALIFORNIA COALITION FOR WOMEN                            Case No. 4:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of            DECLARATION OF L
   themselves and all others similarly situated,             B       IN SUPPORT OF
17               Plaintiffs,
                                                             PLAINTIFFS’ MOTIONS FOR
                                                             PRELIMINARY INJUNCTION
18        v.                                                 AND PROVISIONAL CLASS
                                                             CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4316492 3]
                   DECLARATION OF L   B       IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                     PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1 that the cameras didn’t work at all. I remember times that Officer Smith spoke about the
 2 cameras: he would get in your face, spit flying everywhere, saying he didn’t care about the
 3 cameras. I would also watch for him while he was having sex with other incarcerated
 4 women in the janitor’s closet. He told my friend during the COVID-19 lockdown, when
 5 we had no communication, that he would let her use his phone to call her kid; afterwards,
 6 she started to have sex with him. They felt comfortable with me watching out for them,
 7 but I did not feel comfortable doing so. He would pay me or get me things, like Chipotle,
 8 to knock on the door if someone was coming. Usually nobody came, they knew what was
 9 going on. Nobody walked in. When I stopped watching for him, things got really bad for
10 me; I got jumped by two girls. There was a lot of terror. He tore up one of my letters,
11 which I thought it was a letter from my daughter who I had not talked to in so long. He
12 would not give me my mail; I would only get some of the mail that was sent to me. He
13 would rip up my mail in front of my face, and he would not give me and some other people
14 our mail. Sometimes, he would not let us get our showers.
15                 7.     I reported Officer Smith’s conduct right around the time it was happening. I
16 believe the report I made was forwarded to the investigator, Mr. Putnam, but he did
17 nothing about it. He never came to talk with me or followed up with me. Officer Smith
18 had been accused many times before, so it was not news. I watched and watched to see if
19 anything would happen or change because of the report I made, but nothing happened.
20 However, it got back to Mr. Smith that I told, which is why, in December 2020, I got beat
21 up by two girls who said I snitched on Smith. After I reported
22                 8.     My room got tossed after I reported, and I got placed in the SHU for things I
23 did not do. They took my things, my hobby crafts, and impounded it. He would take
24 things that meant a lot to me, like pictures of my kids or confiscate things I was doing for
25 my children. They made my life miserable and wrote me shots for things I did not do. I
26 got severe shots for doing nothing. This happened to other people too. The staff would
27 literally talk about how they knew what we were doing. They listened to phone calls. I
28 reported on the recorded line, but I did not care – I felt I had to.
     [4316492 3]                                         3
                        DECLARATION OF L   B       IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                          PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1                 9.      When I arrived at FCI Dublin in September 2020 I was not provided
 2 adequate training and information about how to respond to sexual abuse. I don’t
 3 remember if I was informed about PREA, I think they gave me a paper about PREA that
 4 may have had a phone number to report sexual assault. It mostly focused on incarcerated
 5 persons, not staff. I did not receive subsequent training, and there were not any changes to
 6 procedures during my time there.
 7                 10.     There was no effective way to confidentially report sexual assault and abuse
 8 by staff at FCI Dublin when I was there, and staff at FCI Dublin tried to prevent people
 9 from reporting sexual assault and abuse by staff and retaliated against people who did
10 report. I reported to Putnam, but he did nothing and I spoke with the F.B.I. in 2022.
11 When I eventually decided to report through PREA, it was very uncomfortable. They
12 wanted me to be escorted to medical to tell my psychologist, Mr. Hung, and I was told to
13 get escorted to medical. I refused to be escorted because I did not want everyone to know.
14 Eventually I went. It was a very rude man who took my report. I told them very little
15 information, and I think it’s because of the report I made that I was treated so bad. It
16 happened to a lot of girls who filed PREA reports.
17                 11.     The investigator, Mr. Putnam, questioned me, and I did not trust him. I did
18 not want him involved in it. I even asked the new Warden, a woman, if Putnam could not
19 be on my case, but the Warden said he was SIS, so he had to take the report. But I always
20 thought that he was feeding info to Smith. Overall, the PREA report I submitted went
21 nowhere.
22                 12.     The first time my lawyer came to visit me at FCI Dublin, everything worked
23 out. They left me some legal paperwork. The woman at the desk told me she would get it
24 to my case manager, who would get it to me, but I never received the paperwork. The next
25 day, the facility made my attorney wait for an hour before seeing me. They also stripped
26 me before I was allowed to meet with my lawyer on the second day, and they did not bring
27 me lunch. I believe this was retaliation for meeting with my lawyers. That experience
28 made me feel like they were going to fight against me, and they wanted me to stop
     [4316492 3]                                          4
                         DECLARATION OF L   B       IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                           PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1 fighting, but I did not and I got out.
 2                 13.     When incarcerated persons report sexual assault and abuse by staff, FCI
 3 Dublin and BOP do not seriously investigate the reports. Investigations are frequently
 4 delayed and overseen by staff who know and work with the offending staff member.
 5 Generally nothing happens as a result. This happened to me when I reported to Lieutenant
 6 Putnam – it seemed like he did nothing.
 7                 14.     There is no confidential mental health care available to survivors of sexual
 8 abuse and assault at FCI Dublin. I never received counseling when I was at FCI Dublin.
 9                 15.     There is little to no medical care available to survivors of sexual abuse and
10 assault at FCI Dublin. It is my understanding that there is currently no medical doctor at
11 the facility. Five months before I was released, they took my meds from me, and no one
12 would help me. I have a schizoaffective diagnosis, and I have to take this certain pill to
13 manage my symptoms. I tried and tried to get help, but they never did anything about it. I
14 would hear buzzing, and it drove me crazy.
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     [4316492 3]                                           5
                         DECLARATION OF L   B       IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                           PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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